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 1                                                                             The Honorable Benjamin H. Settle

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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 8
      COMMANDER EMILY SHILLING; et al.,                             No. 2:25-cv-00241 BHS
 9
                           Plaintiffs,                              DECLARATION OF OMAR
10                                                                  GONZALEZ-PAGAN IN SUPPORT
                    v.                                              OF PLAINTIFFS’ REPLY IN
11                                                                  SUPPORT OF MOTION FOR
                                                                    PRELIMINARY INJUNCTION
12    DONALD J. TRUMP, in his official capacity as
      President of the United States; et al.,
13
                           Defendants.
14

15          I, Omar Gonzalez-Pagan, hereby declare as follows:
16          1.      I am an attorney with Lambda Legal Defense and Education Fund, Inc. and
17   counsel for Plaintiffs in the above-captioned matter. I make this declaration based on personal
18   knowledge about which I am competent to testify.
19          2.      I submit this declaration to provide the Court true and correct copies of certain
20   documents submitted in support of Plaintiffs’ Motion for Preliminary Injunction.
21          3.      Attached as Exhibit 37 is a true and correct copy temporary restraining order
22   issued by the United States District Court for the District of New Jersey in Ireland v. Hegseth,
23   No. 1:25-cv-01918-CPO-AMD, on March 24, 2025.
24

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26
      DECLARATION OF OMAR                       Perkins Coie LLP             Lambda Legal Defense and         Human Rights Campaign
                                         1201 Third Avenue, Suite 4900          Education Fund, Inc.                 Foundation
      GONZALEZ-PAGAN ISO                 Seattle, Washington 98101-3099       120 Wall Street, 19th Floor   1640 Rhode Island Avenue NW
      PLAINTIFFS’ REPLY ISO                    Phone: 206.359.8000           New York, NY. 10005-3919          Washington, D.C. 20036
      MOT. FOR PRELIM. INJ.                     Fax: 206.359.9000              Telephone: 212-809-8585        Telephone: (202) 568-5762
     (CASE NO. 2:25-CV-241 BHS)
            Case 2:25-cv-00241-BHS             Document 97                Filed 03/25/25           Page 2 of 2




 1          4.      Attached as Exhibit 38 is a true and correct copy of the transcript of the March

 2   21, 2025 motions hearing in Talbott v. United States, No. 1:25-cv-00240-ACR, before the United

 3   States District Court for the District of Columbia.

 4          5.      Attached as Exhibit 39 is a true and correct screenshot of a post on the social

 5   media platform X (formerly Twitter) by Defendant Pete Hegseth (@PeteHegseth) on March 22,

 6   2025, and retrieved from X.com at: https://x.com/PeteHegseth/status/1903529403151249656.

 7

 8          EXECUTED this 25th day of March 2025, at Seattle, Washington.
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                                                                s/ Omar Gonzalez-Pagan
10                                                              Omar Gonzalez-Pagan

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      MOT. FOR PRELIM. INJ. – 2                 Fax: 206.359.9000              Telephone: 212-809-8585        Telephone: (202) 568-5762
     (CASE NO. 2:25-CV-241 BHS)
